 Case: 23-30445       Document: 295      Page: 1    Date Filed: 08/26/2024




        United States Court of Appeals
             for the Fifth Circuit                           United States Court of Appeals
                                                                      Fifth Circuit
                             ____________                           FILED
                                                              August 26, 2024
                              No. 23-30445
                                                               Lyle W. Cayce
                             ____________
                                                                    Clerk
State of Missouri; State of Louisiana; Aaron Kheriaty;
Martin Kulldorff; Jim Hoft; Jayanta Bhattacharya;
Jill Hines,

                                                        Plaintiffs—Appellees,

                                    versus

Joseph R. Biden, Jr.; Vivek H. Murthy; Xavier Becerra;
Department of Health &amp; Human Services; Anthony
Fauci; Et al.,

                                       Defendants—Appellants.
               ______________________________

               Appeal from the United States District Court
                  for the Western District of Louisiana
                        USDC No. 3:22-CV-1213
               ______________________________

                    ON REMAND FROM
         THE SUPREME COURT OF THE UNITED STATES

Before Clement, Elrod, and Willett, Circuit Judges.
Per Curiam:
       This case is before us on remand from the Supreme Court, which
reversed our judgment and held that none of the Plaintiffs has standing to
seek a preliminary injunction. Murthy v. Missouri, 144 S. Ct. 1972, 1981, 1997
 Case: 23-30445      Document: 295         Page: 2   Date Filed: 08/26/2024




                                No. 23-30445


(2024). Accordingly, we VACATE the judgment of the district court and
the preliminary injunction in their entirety and REMAND for further
proceedings consistent with the Supreme Court’s opinion. The Clerk is
directed to issue the mandate forthwith.




                                     2
